IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

 

 

NASHVILLE DIVISION
GAIL CARLSON, )
Plaintiff, § No.
vs. § Judge
PEI WEI ASIAN DINER, INC. § Jury Demand
Defendant l
COMPLAINT

 

Plaintiff hereby files this Complaint against Pei Wei Asian Diner, LLC f/k/a Pei Wei

Asian Diner, Inc. (“Pei Wei” or “Defendant”) and respectfully alleges as follows:

JURISDICTIONAL FACTS
This action is brought to remedy discrimination on the basis of sex in the terms, conditions

and privileges of employment and to remedy retaliation against an employee for activity

n protected under Title VII.

injunctive and declaratory relief, damages and other appropriate legal and equitable relief are
sought pursuant to Title Vll, particularly 42 U.S.C. § 2000e (f) and (g).

Plaintiff Gaii Carlson (“Ms. Carlson” or “Plaintiff”) is a female citizen and resident of Ohio.
At times material to her Complaint, she Was employed by Defendant in Williamson County
and/or Davidson County, Tennessee_

Defendant is a foreign corporation duly licensed in the State of Tennessee Whose principal

place of business is 7676 E. Pinnacle Peak Road, Scottsdale, Arizona 85255~3404. its

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registered agent for service of process is National Registered Agents, lnc. 2300 Hillsboro
Road, Suite 305, Nashville, TN 37212~4927.
Defendant is an employer as defined in the Civil Rights Act of 1964, 42 U.S.C. § 2000 et
seq. (as amended 1972)(“Title VII”).
Ms. Carlson filed a timely Charge of Discrimination With the Equal Employment
Opportunity Comrnission (“EEOC”). On or about October 31, 2012, Ms. Carlson received a
“Notice of Right to Sue” from the EEOC. The Charge of Discrimination and the “Notice of
Right to Sue” are attached hereto as Exhibit A and are incorporated herein by reference All
administrativeprerequisites have been rnet.
Jurisdiction and venue is proper in the United States District Court for the Middle District of
Tennessee, Nashville Division.

FACTS
Plaintiff adopts verbatim paragraphs 1-8 as though fully set out herein.
Ms. Carlson Was employed by the Defendant at all times material to this Complaint.
Defendant hired Ms. Carlson in or about February 2009 to vvorl< as a manager in training in
its Dublin, Ohio restaurant After completing the training program in about April 2009, she
began Worl<ing in Defendant’s Easton, Ohio restaurant as an Assistant Manager. ln or about
September 2009, Ms. Carlson transferred to the Nashville, Tennessee (Green i-lills)
Restaurant. ln or about August 2010, l\/is. Carlson transferred to Defendant’s Brentvvood,
Tennessee restaurant
fn or about October 2010, De’Sean Jefferson (“Jefi`erson”) began Working at the Brentwood
restaurant as the General Manager and Ms. Carison’s direct supervisor. Shortly aHer arriving

as the Generai Manager, Jefferson began making sexually explicit and inappropriate

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comments and gestures directed towards Ms. Carlson and otherwise harassing Ms. Carlson
because of sex. Jefferson’s sexual harassment was severe, pervasive and unwelcome. I-lis
comments and behavior had the effect of sexuaiizing Ms. Carlson and the workplace, causing
her embarrassment, humiliation, anxiety, and stress that interfered With the terms and
conditions of her employment
l\/ls. Carlson suffered tangible adverse job actions as a result of the sexual harassment,
discrimination and retaliation, including, being denied requested days off, being forced to
take unpaid medical leave, being constructively discharged and also being subjected to other
discriminatory treatment;that adversely affected the terms land conditions of her employment
Once the harassment began, Jefferson made inappropriate comments to and otherwise
harassed Ms. Carlson almost every day that they worked together. Exarnples of
inappropriate comments, include, Without limitation, Jefferson stating to Ms, Carlson:
a. “lt would only take one Long island lced "fea for you to have sex with me. Your life
would never be the same after you had sex with me.” [and similar comments];
b. “l am going to personally find someone to have sex with you so you will stop being
such a b[****].” [and similar comments];
c. “i will not give you the days you request off unless you are going to use them to have
sex With someone.” [and similar comments];
d. “l have a friend that l might be able to convince to have sex with you, Maybe if you
turn the lights out he will have sex vvith you. lt is just vvhat you need.” [and similar

comments].

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Ms. Carlson unequivocally and repeatedly informed Jefferson that she was not interested in
having sex with him or anyone eise. She also repeatedly asked Jefferson to stop making
inappropriate sexual comments to her. Nevertheless, Jefferson’s harassment persisted

After Ms. Carlson initially informed Jefferson that she Would not have sex with him, he
began to criticize her appearance and bully her. l-le made repeated comments and gestures to
indicate that she was unattractive and that no one would want to have sex with her but that
she needed sex. Despite Ms. Carlson asking that he stop, Jefferson’s harassment persisted
After months of suffering from severe and pervasive harassment and discrimination, Ms.
Carlson requested a meeting with Joshua Lee (“Lee”) so that she could report the
inappropriate and unlawful behavior of Jefferson. Lee informed Ms. Carlson that he could
not meet with her because he was going out of town. At the time she requested the meeting
with Lee, Ms. Carlson recalls only having received one “write up” during her tenure with Pei
Wei. This write up was by lustin Pendergrass (“Pendergrass”) and involved the restaurant
not being as organized as it should have been when Clay McAfee came to visit.

Ms. Carlson reported the harassment to Defendant through their “heip line.”

Prior to the time Lee met with Ms. Carlson, she had been in an argument with Jefferson for
which Jefferson gave her a “write up.” When she met with Lee, as planned, she informed
him that Jefferson had been making inappropriate comments and behavior amounting to
sexual harassment and discrimination Jefferson’s behavior violated the company sexual
harassment policy.

Ms. Carlson also reported that Jefferson was engaged in a sexual relationship with an hourly

employee who worked under Jefferson in violation of company policy.

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After Ms. Carlson reported Jefferson, he told her that continuing to work in Brentwood was
not an option and that he would not schedule her for any shifts at that location Defendant
conducted an investigation but failed to interview all the witnesses that Ms. Carlson advised
had knowledge of Jefferson’s unlawful behavior.
Following the investigation, Jefferson was not punished for sexually harassing Ms. Carlson
and was not punished for having an inappropriate sexual relationship with an hourly
employee under his supervision in violation of company policy. Ms. Carlson was transferred
to the Green l-iills restaurant in or about late August or early Septernber 2011.
Ms. Carlson reported to General Manager Pendergrass at the Green l-Iills restaurant
Pendergrass had obviously learned about Ms. Carlson’s sexual harassment complaints
because he treated her differently than other employees and otherwise engaged in conduct
that would dissuade a reasonable employee from reporting sexual harassment The
harassment, discrimination and retaliation was so sever and pervasive that it was objectively
and subjectively reasonable for her to terminate her employment ln other words, Ms.
Carlson was constructively discharged

FIRST CAUSE OF ACTION - TITLE VII
Plaintiff adopts verbatim paragraphs l-22 as though fully set out herein
Plaintiff sues the Defendant under Title Vll for discrimination on the basis of sex, including
quid pro quo and hostile work environment sexual harassment and retaliation She sues the
defendants for all remedies available under Title Vll, as well as any other legal and equitable
relief that may be available
Defendant has discriminated against Plaintiff in the terms and conditions of her employment

on the basis of her sex in violation of Title Vll.

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26. Plaintiff is now suffering and will continue to suffer irreparable injury, monetary damages
and damages for mental anguish and humiliation as a result of Defendant’s discriminatory
practices unless and until this Court grants relief.

SECOND CAUSE OF ACTION - RETALIATION

27. Plaintiff adopts verbatim paragraphs 1-26 as though fully set out herein.

28. Defendant has retaliated against Plaintiff and has denied her opportunities for employment on
the basis of her having complained of sexual harassment and discrimination, in violation of
Title VII.

29. Plaintiff is now suffering and will continue to suffer irreparable injury, monetary damages
and damages for mental anguish and humiliation as a result of Defendant’s discriminatory
practices unless and until this Court grants relief.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that:

l. Process issue against the Defendant, requiring it to answer within the time period specified
by law',

2. A jury be impaneled to hear this cause of action at trial;

3. The Court enter a judgment:

(a) Declaring that the acts and practices complained of herein are in violation of Title
VII;

(b) Enjoining and permanently restraining these violations of ’l`itle Vli;

(c) Directing defendants to take affirmative action as is necessary to ensure that the
effects of these unlawful practices are eliminated and do not continue to affect

plaintiff s employment opportunities;

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(d) Directing defendants to place Plaintiff in the position that she would have occupied
but for defendants’ discriminatory and retaliatory treatment of her, and make her
whole for all earnings she would have received but for defendants’ discriminatory and
retaliatory treatment, including, but not limited to, reinstatement and/or front pay,
back wages, bonuses, pension, and other lost benefits;

(e) Awarding Plaintiff compensatory damages and punitive damages in amounts to be
determined by the jury;

(f) Awarding plaintiff th‘e'c;o'sts of this action together with reasonable attorneys’ fees, as
provided by §706(k)"of Title Vll, 42 U.S.C. § 2000e-6(k);

(g) Directing the defendants to pay Plaintiff compensatory damages and damages for her
mental anguish and humiliation; and,

(h) Granting such other and further relief as this Court deems necessary and proper.

lanuary 28, 2013

 

 

/ f
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